Case 23-13131-CMG Doc 907 Filed 09/29/23                                     Entered 09/30/23 00:15:56                 Desc
                 Imaged Certificate of Notice                                Page 1 of 14



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 COLE SCHOTZ P.C.                                                                Order Filed on September 27, 2023
 Court Plaza North                                                               by Clerk
 25 Main Street                                                                  U.S. Bankruptcy Court
 P.O. Box 800                                                                    District of New Jersey
 Hackensack, New Jersey 07602-0800
 (201) 489-3000
 (201) 489-1536 Facsimile
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 -and-

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 (312) 862-2200 Facsimile
 Alexandra Schwarzman, P.C. (admitted pro hac vice)
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 Counsel to Debtors


 In re:                                                          Chapter 11
                                                                 Case No. Case No. 23-13131 (CMG)
 DAVID’S BRIDAL, LLC, et al.,
                                                                 Judge: Christine M. Gravelle
                                       Debtors. 1
                                                                 (Jointly Administered)


          1
            The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
identification number, are: David’s Bridal, LLC (4563); DBI Midco, Inc. (7392); DBI Holdco II, Inc. (7512); DBI
Investors, Inc. (3857); David’s Bridal Canada, Inc. (N/A); Blueprint Registry, LLC (2335). The location of debtor
David’s Bridal, LLC’s principal place of business and the debtors’ service address in these chapter 11 cases is 1001
Washington Street, Conshohocken, Pennsylvania 19428.

          DATED: September 27, 2023

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(Page 2)
Debtors:          DAVID’S BRIDAL, LLC, et al.
Case No.          23-13131-CMG
Caption of Order: OMNIBUS ORDER GRANTING FINAL ALLOWANCE OF
                  COMPENSATION FOR SERVICES RENDERED AND FOR
                  REIMBURSEMENT OF EXPENSES


      OMNIBUS ORDER GRANTING FINAL ALLOWANCE OF COMPENSATION
      FOR SERVICES RENDERED AND FOR REIMBURSEMENT OF EXPENSES

         The relief set forth on the following pages, numbered two (2) through four (4) is hereby

ORDERED.




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(Page 3)
Debtors:          DAVID’S BRIDAL, LLC, et al.
Case No.          23-13131-CMG
Caption of Order: OMNIBUS ORDER GRANTING FINAL ALLOWANCE OF
                  COMPENSATION FOR SERVICES RENDERED AND FOR
                  REIMBURSEMENT OF EXPENSES
______________________________________________________________________________

         Upon the final fee applications in these cases (the “Final Fee Applications”) of those

professionals referenced on Exhibit A attached hereto, (the “Applicants”), pursuant to sections

327, 328, 330, 331 and 503 of title 11 of the United States Code and Rule 2016 of the Federal

Rules of Bankruptcy Procedure, for the final allowance of certain fees and expenses incurred, for

the period covered by the dates referenced in the Final Fee Applications (the “Compensation

Period”); and the Court having reviewed the application of each Applicant for allowance of final

compensation for professional services and for reimbursement of expenses referenced on Exhibit

A attached hereto, and any supplements filed with respect thereto (the “Supplements”); and the

Court finding that: (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; (b) notice of the Final Fee Applications was adequate under the circumstances; and (c) all

persons with standing have been afforded the opportunity to be heard on the Final Fee

Applications; and after due deliberation thereon and good and sufficient cause appearing therefor,

it is hereby ORDERED, ADJUDGED, AND DECREED THAT:

         1.       The Final Fee Applications are GRANTED to the extent set forth herein.

         2.       Each of the Applicants is allowed compensation, on a final basis, for services

rendered, and reimbursement for actual and necessary expenses incurred, during the Compensation

Period and the period described in the Supplements in the amounts listed for “Final Fees

Approved” and “Final Expenses Approved” on Exhibit A, including any and all holdbacks.

         3.       The Debtors are authorized to pay, from the Professional Fee Escrow Accounts (as

defined in Asset Purchase Agreement, dated July 14, 2023, annexed to Docket No. 660 as Exhibit

A), the unpaid portions of such allowed fees and expenses to each of the Applicants listed on


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(Page 4)
Debtors:          DAVID’S BRIDAL, LLC, et al.
Case No.          23-13131-CMG
Caption of Order: OMNIBUS ORDER GRANTING FINAL ALLOWANCE OF
                  COMPENSATION FOR SERVICES RENDERED AND FOR
                  REIMBURSEMENT OF EXPENSES


Exhibit A; provided, however, that any Applicants holding a retainer from the Debtors shall be

permitted, and are directed, to first apply the balance of any such retainer towards the payment of

such unpaid fees and expenses.

         4.       This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.




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                                                              EXHIBIT A

                                           DKT. NO. FOR
                                           FINAL FEE APP. /   FINAL FEES      FINAL EXPENSES    TOTAL AMOUNT      TOTAL AMOUNT
 APPLICANT AND TITLE                       SUPP.              APPROVED        APPROVED          APPROVED          DUE
 Kirkland & Ellis LLP and Kirkland &       798                $2,112,780.50   $55,292.65        $2,168,073.15     $485,161.46
 Ellis International LLP                   873
 (Co-Counsel to Debtors)
 Cole Schotz P.C.                          802                $992,059.25     $10,182.63        $1,002,241.88     $345,417.80
 (Co-Counsel to Debtors)                   871
 Osler, Hoskin & Harcourt LLP              797                CAD             CAD $4,393.85     CAD $750,927.79   CAD
 (Canadian Counsel to Debtors)             872                $746,533.94                                         $215,814.87
 Berkley Research Group, LLC               801                $1,138,566.50   $3,484.17         $1,142,050.67     $440,158.81
 (Financial Advisor to the Debtors)        874
 A&G Realty Partners, LLC                  806                $301,203.94     $0.00             $301,203.94       $4,000.00
 (Real Estate Consultant and Advisor to
 the Debtors)
 Deloitte Tax LLP                          803                $68,811.80      $99.12            $68,910.92        $68,910.92
 (Tax Advisory Services Provider for the   867
 Debtors)
 Omni Agent Solutions                      796                $35,845.58      $0.00             $35,845.58        $34,463.12
 (Administrative Agent to Debtors)
 Pachulski Stang Ziehl & Jones LLP         799                $439,998.00     $9,722.75         $449,720.75       $268,701.33
 (Counsel to Official Committee of         808
 Unsecured Creditors)                      875
 Province, LLC                             805                $514,773.00     $1,251.07         $516,024.07       $120,137.00
 (Financial Advisor to Official            876
 Committee of Unsecured Creditors)




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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-13131-CMG
David's Bridal, LLC                                                                                                    Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 9
Date Rcvd: Sep 27, 2023                                               Form ID: pdf903                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 29, 2023:
Recip ID                 Recipient Name and Address
db                     + David's Bridal, LLC, 1001 Washington Street, Conshohocken, PA 19428-2356
aty                    + Kirkland & Ellis LLP, 601 Lexington Avenue, New York, NY 10022-4643

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 29, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 27, 2023 at the address(es) listed
below:
Name                               Email Address
Adam Nach
                                   on behalf of Creditor DeRito Talking Stick South LLC adam.nach@lane-nach.com,
                                   aimee.bourassa@lane-nach.com;helen.santilli@lane.nach.com;sheila.rochin@lane.nach.com

Adam M. Levy
                                   on behalf of Unknown Role Type France Lab Inc. alevy@dglaw.com

Alan J. Brody
                                   on behalf of Attorney BANK OF AMERICA N.A. brodya@gtlaw.com NJLitDock@gtlaw.com

Amy Elizabeth Vulpio
                                   on behalf of Creditor Google LLC vulpioa@whiteandwilliams.com

Angela L Mastrangelo
                                   on behalf of Interested Party CFC Phase II LLC mastrangelo@bk-legal.com, bhoffmann@bk-legal.com
           Case 23-13131-CMG Doc 907 Filed 09/29/23                                  Entered 09/30/23 00:15:56                   Desc
                            Imaged Certificate of Notice                             Page 7 of 14
District/off: 0312-3                                        User: admin                                                           Page 2 of 9
Date Rcvd: Sep 27, 2023                                     Form ID: pdf903                                                      Total Noticed: 2
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Bradford J. Sandler
                           on behalf of Creditor Committee Official Committee of Unsecured Creditors bsandler@pszjlaw.com
                           mseidl@pszjlaw.com;lsc@pszjlaw.com

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Brett D. Goodman
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Brett D. Goodman
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Christopher Cook
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                           on behalf of Creditor Hanover Estates LLC cchiu@pryorcashman.com

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                           damien.tancredi@ecf.inforuptcy.com;nicole.pettit@flastergreenberg.com

Daniel L. McAuliffe
                           on behalf of Creditor Market Town Center Owner LLC dmcauliffe@rmfpc.com mamato@rmfpc.com;samiel@rmfpc.com

David C. Dreifuss
                           on behalf of Creditor Liberty Mutual Insurance Company ddreifuss@dbplawfirm.com

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                           serena.hill@huschblackwell.com;david-stauss-2550@ecf.pacerpro.com

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                           on behalf of Creditor Hidalgo County austin.bankruptcy@lgbs.com

Diane Sanders
             Case 23-13131-CMG Doc 907 Filed 09/29/23                                 Entered 09/30/23 00:15:56                     Desc
                              Imaged Certificate of Notice                            Page 8 of 14
District/off: 0312-3                                        User: admin                                                              Page 3 of 9
Date Rcvd: Sep 27, 2023                                     Form ID: pdf903                                                         Total Noticed: 2
                          on behalf of Creditor City of McCallen austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor McClennan County austin.bankruptcy@lgbs.com

Diane Sanders
                          on behalf of Creditor Neuces County austin.bankruptcy@lgbs.com

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                          on behalf of Creditor Freehold Investments LLC (Successor in Interest to Donald S. Schlenger Family Freehold Trust)
                          dclarke@genovaburns.com, dclarke@ecf.inforuptcy.com;dclarke@ecfalerts.com

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                          lwood@mcdowelllegal.com;kgresh@mcdowelllegal.com;kbrocious@mcdowelllegal.com;djamison@mcdowelllegal.com;cgetz@
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                          lwood@mcdowelllegal.com;kgresh@mcdowelllegal.com;kbrocious@mcdowelllegal.com;djamison@mcdowelllegal.com;cgetz@
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                          on behalf of Interested Party CPT Arlington Highlands 1 LP echafetz@lowenstein.com

Felice R. Yudkin
                          on behalf of Debtor David's Bridal LLC fyudkin@coleschotz.com, fpisano@coleschotz.com

Fran B. Steele
                          on behalf of U.S. Trustee U.S. Trustee Fran.B.Steele@usdoj.gov

Fred B. Ringel
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Gary Neil Marks
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                          gmarks@genovaburns.com

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                          on behalf of Creditor Velocity A Managed Services Company Inc. harry@gutfleishlaw.com

Ivo Keller
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James N. Lawlor
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Jeffrey Bernstein
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Jeffrey Bernstein
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Jeffrey Bernstein
                          on behalf of Creditor HC Atlantic Development LP jbernstein@mdmc-law.com

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Jeffrey Kurtzman
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Jeffrey C. Wisler
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           Case 23-13131-CMG Doc 907 Filed 09/29/23                                   Entered 09/30/23 00:15:56                  Desc
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Date Rcvd: Sep 27, 2023                                     Form ID: pdf903                                                      Total Noticed: 2
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Jordan Seth Blask
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Joseph H. Lemkin
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Kenneth A. Rosen
                          on behalf of Interested Party 1903P Loan Agent LLC and 1903 Partners, LLC krosen@lowenstein.com,
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Kristen Peters Watson
                          on behalf of Creditor GRI Keizer LLC kwatson@burr.com, jcarlin@burr.com;sfoshee@burr.com

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Kristen Peters Watson
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Kyle McEvilly
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Laura J Monroe
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Lauren Bolcar
                          on behalf of Creditor Fayette Town Center LLC lauren.bolcar@quarles.com, catherine.allen@quarles.com

Leslie Carol Heilman
           Case 23-13131-CMG Doc 907 Filed 09/29/23 Entered 09/30/23 00:15:56                                                    Desc
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Date Rcvd: Sep 27, 2023                                     Form ID: pdf903                                                      Total Noticed: 2
                          on behalf of Creditor SCG Pinole Valley Shopping Center LLC heilmanl@ballardspahr.com
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor MT San Antonio I LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Acadia Merrillville Realty heilmanl@ballardspahr.com
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Brixmor Operating Partnership LP heilmanl@ballardspahr.com
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Fairlawn 35 L.P. heilmanl@ballardspahr.com vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor ARCP MT Lafayette IN LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Sunset Hills Owner LLC heilmanl@ballardspahr.com
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor SOLAR HOLDINGS LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

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Leslie Carol Heilman
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                          on behalf of Creditor Henry Real Estate L.P. heilmanl@ballardspahr.com, vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Bethel Properties LLC heilmanl@ballardspahr.com, vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor R46 Realty Associates L.P. heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor Federal Realty OP LP heilmanl@ballardspahr.com vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
                          on behalf of Creditor ARCP MT Springfield IL LLC heilmanl@ballardspahr.com,
                          vesperm@ballardspahr.com;roglenl@ballardspahr.com

Leslie Carol Heilman
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